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             CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE

       This Confidential Settlement Agreement and Release (hereinafter the
“Agreement”) is made this ___ day of July, 2018, by and between the Archdiocese of
Saint Paul and Minneapolis (“ASPM”, as defined below), ASPM Entities (as defined
below), and “Catholic Entities” (as defined below), on the one hand, and Swiss Re
America Corporation, as Administrator for 21st Century Centennial Insurance
Company, formerly known as Colonial Penn Insurance Company (collectively, “21st
Century Centennial”, as defined below), on the other hand, (the aforementioned parties
being referred to hereinafter collectively as the “Parties” or individually as a “Party”).

                                WITNESSETH THAT:

WHEREAS, the Minnesota Child Victims Act (“CVA”) went into effect on May 25,
2013, and provided for a three-year window for all actions pending on or commenced
between May 25, 2013, and May 25, 2016, during which the statute of limitations for
Abuse Claims (as defined below) was suspended;

WHEREAS, on May 25, 2016, the three-year window closed;

WHEREAS, as a result of the CVA, several Abuse Claims were brought against ASPM
Parties (as defined below) and certain Catholic Entities;

WHEREAS, 21st Century Centennial issued certain policies providing insurance to
ASPM Parties and Catholic Entities (“Subject Insurance Policies”, as defined below);

WHEREAS, ASPM and some of the Catholic Entities tendered Abuse Claims to 21st
Century Centennial (“Underlying Claims”);

WHEREAS, certain ASPM Parties and Catholic Entities incurred and may incur in the
future liabilities, expenses, and losses arising out of certain claims, including the Abuse
Claims brought pursuant to the CVA;

WHEREAS, to attempt to address its liabilities for such claims, on January 16, 2015
(“Petition Date”), ASPM filed for bankruptcy in the United States Bankruptcy Court for
the District of Minnesota (“Bankruptcy Court”) under chapter 11 of Title 11 of the
United States Code, 11 U.S.C. § 101, et. seq. (“Bankruptcy Code”), Case Number 11-
20059;

WHEREAS, the Subject Insurance Policies listed on Attachment A are property of the
bankruptcy estate;

WHEREAS, ASPM Parties and Catholic Entities claim coverage under the Subject
Insurance Policies;

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WHEREAS, ASPM and certain Catholic Entities tendered demands to 21st Century
Centennial for coverage under the Subject Insurance Policies for the Underlying
Claims, and 21st Century Centennial disputes whether, and to what extent, coverage
may attach with respect to any such claims under the Subject Insurance Policies
(“Dispute”);

WHEREAS, in an effort to obtain an adjudication of its rights for coverage under certain
of the Subject Insurance Policies, on November 24, 2014, ASPM filed an action
captioned Archdiocese of St. Paul and Minneapolis v. Continental Insurance Co., et al.,
in the United States District Court for the District of Minnesota, which action was
referred to the Bankruptcy Court on January 20, 2015, as Adversary Proceeding No. 15-
03013 (“Insurance Coverage Adversary Proceeding”);

WHEREAS, 21st Century Centennial is a named defendant in the Insurance
Coverage Adversary Proceeding;

WHEREAS, 21st Century Centennial disputes the substantive allegations and claims
asserted against it in the Insurance Coverage Adversary Proceeding;

WHEREAS, the Insurance Coverage Adversary Proceeding was stayed by the
Bankruptcy Court, and ASPM, the Catholic Entities, 21st Century Centennial, and
others were ordered to mediate;

WHEREAS, on December 30, 2014, the Continental Insurance Company, Continental
Casualty Company, and National Fire Insurance of Hartford filed responsive pleadings to
the Complaint in the Insurance Coverage Adversary Proceeding, including a Third Party
Complaint for Declaratory Relief against 21st Century Centennial and others
(“Continental Third-Party Claim”);

WHEREAS, 21st Century Centennial was not served with the Continental Third-
Party Claim before the stay of the Insurance Coverage Adversary Proceeding,
however, 21st Century Centennial disputes the substantive allegations and claims
asserted against it in the Continental Third-Party Claim;

WHEREAS, whether or not they were subject to claims and whether or not they
tendered demands to 21st Century Centennial, ASPM Parties and Catholic Entities
are settling with and releasing 21st Century Centennial pursuant to this Agreement;

WHEREAS, it is the intention of the Parties that the “Interests” (as defined below in
the Subject Insurance Policies) be sold, assigned, and transferred to 21st Century
Centennial, and that 21st Century Centennial shall buy back the Interests by payment
of the “Buy-Back Payment” (as defined below);


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WHEREAS, it is the intention of the Parties that any and all Interests in the Subject
Insurance Policies shall be extinguished, ended, and forever terminated;

WHEREAS, it is the intention of the Parties that the ASPM Parties and Catholic
Entities shall (i) not retain any right, title, or interest in or to the Interests in the Subject
Insurance Policies, and (ii) shall release 21st Century Centennial from all “Claims”
(as defined below) relating to the Interests in the Subject Insurance Policies, and that
21st Century Centennial shall not have any remaining duty arising out of or related to
the Tort Claims covered by the Subject Insurance Policies or the Subject Insurance
Policies or obligation of any nature whatsoever (a) to any ASPM Party or any Catholic
Entity or (b) relating to the Interests;

WHEREAS, 21st Century Centennial is also making a contribution to support the
“Plan” (as defined below) and the transactions contemplated thereunder (“Plan
Payment”, as defined below), and in exchange will receive the “Settling Insurer
Supplemental Injunction” and the “Channeling Injunction” (each as defined below),
pursuant to the Plan;

WHEREAS, ASPM Parties and Catholic Entities agree to sell the Interests in the
Subject Insurance Policies to 21st Century Centennial; agree that the Buy-Back
Payment shall be transferred to the “Trust” (as defined below); and agree that, in
exchange, ASPM Parties and Catholic Entities will receive the Channeling
Injunction, pursuant to the Plan; and

WHEREAS, by this Agreement, the Parties intend to adopt, by way of compromise,
and without prejudice to or waiver of their respective positions in other matters, without
further trial or adjudication of any issues of fact or law, and without 21st Century
Centennial’s admission of liability or responsibility under the Subject Insurance
Policies, a full and final settlement that releases and terminates all rights, obligations, and
liabilities of 21st Century Centennial, ASPM Parties, and Catholic Entities with
respect to the Interests in the Subject Insurance Policies, including all rights,
obligations, and liabilities relating to the aforesaid Claims, without prejudice to their
respective positions on policy wordings or any other issues in the Dispute, the Insurance
Coverage Adversary Proceeding, the Underlying Claims, the Continental Third-
Party Claim, or any other action.

                                      AGREEMENTS:

NOW, THEREFORE, in full consideration of the foregoing and of the mutual
agreements herein contained, and intending to be legally bound, the Parties agree as
follows:

I.      Definitions.

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The following definitions and the definitions used above apply to this Agreement as well
as in any exhibits or attachments hereto. Where the listed terms are also further defined
elsewhere in the body of this Agreement, the definitions listed here nonetheless apply
and shall serve to further explain the meaning of those terms. Each defined term stated in
a singular form shall include the plural form, each defined term stated in plural form shall
include the singular form, and each defined term stated in the masculine form or in the
feminine form shall include the other. The words “include,” “includes” or “including”
shall be deemed to be followed by the words “without limitation,” and the phrase
“relating to” means “with regard to, by reason of, based on, arising out of, relating to, or
in any way connected with”. (The words “include,” “includes” and “including”, and the
phrase “relating to” are not capitalized herein.) All attachments hereto are incorporated
herein to the same extent as if fully set forth herein. All references to “Sections” are
references to sections of this Agreement unless otherwise specified.

        A.    Abuse Claim.

The term “Abuse Claim” means any Claim relating to (a) a sexual abuse claim as that
term is defined in Minnesota Statutes §541.073(1); (b) sexual conduct or misconduct,
sexual abuse or molestation, indecent assault and/or battery, rape, lascivious behavior,
undue familiarity, pedophilia, hebephilia, ephebophilia, sexually-related physical,
psychological or emotional harm, or contacts or interactions of a sexual nature between a
child and an adult, or a nonconsenting adult and another adult; (c) assault, battery,
corporal punishment, or other act of physical, psychological, or emotional abuse,
humiliation, or intimidation; The term “Abuse Claim” includes Abuse Claims held by
(i) an individual who was at the time of the Petition Date under a disability recognized by
Minn. Stat. § 541.15, subds. 1, 2 and 3 (or other applicable law suspending the running of
the limitation period, if any, other than Minn. Stat. § 541.15, subd. 4); (ii) an individual
who was abused through and including the Effective Date and whose claim is timely
under Minn. Stat. § 541.073 subd.2 as amended in 2013; (iii) an individual who has a
Tort Claim that was barred by the statute of limitations as of the Claims Filing Date but is
no longer barred by the applicable statute of limitations for any reason, including the
enactment of legislation that revises previously time-barred Tort Claims; or (iv) any other
individual or class of individuals the Future Tort Claim Representative can identify that
would have a Tort Claim on or prior to the Effective Date.

        B.    Approval Order.

The term “Approval Order” means an order entered by the Court, upon a hearing
following “Bankruptcy Notice”, containing all of the following provisions but no
provision that is contrary to or inconsistent with the following provisions, which order
has become a Final Order. The wording of the Approval Order shall be mutually
acceptable to ASPM and 21st Century Centennial. The Approval Order shall contain
provisions:
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             1.    approving this Agreement, in its entirety, pursuant to Bankruptcy
                   Code §§ 363(b), (f), and (m) and, if applicable, 105(a), and Federal
                   Rules of Bankruptcy Procedure (“Bankruptcy Rules”) 6004 and
                   9019;

             2.    authorizing the sale of the Subject Insurance Policies to 21st
                   Century Centennial free and clear of all Interests of all Persons,
                   including all Interests, if any, arising under Minn. Stat. Chapter
                   60A, with all Interests in and to, and Claims against, the Subject
                   Insurance Policies being fully extinguished without reservation as
                   to 21st Century Centennial and channeled to the Trust;

             3.    authorizing and directing the Parties to perform their respective
                   obligations under this Agreement;

             4.    entering the Bar Order;

             5.    ordering that all Claims against and Interests in the Subject
                   Insurance Policies being fully extinguished without reservation as
                   to 21st Century Centennial and channeled to the Trust upon the
                   date of entry of the Approval Order;

             6.    ordering that any Claims or Interests that any Person, including
                   CMS, might have against the Subject Insurance Policies or 21st
                   Century Centennial relating to Claims paid or to be paid from the
                   Buy-Back Payment attach to the Trust or Reorganized Debtor, in
                   accordance with the terms of the Plan;

             7.    ordering the Trustee to perform the obligations imposed upon him
                   or her, if any, by this Agreement; and,

             8.    incorporating the following separately entered findings of fact and
                   conclusions of law adequately supporting the sale and buy-back of
                   the Subject Insurance Policies and as necessary to enter the Bar
                   Order:

                   a)     ASPM demonstrated sound business reasons for the sale of
                          the Subject Insurance Policies to 21st Century Centennial;

                   b)     This Agreement was negotiated extensively, at arms-length,
                          and in good faith between ASPM and 21st Century
                          Centennial. 21st Century Centennial is a purchaser in good
                          faith within the meaning of Bankruptcy Code § 363(m), and
                          is entitled to all of the protections of that statute;
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                   c)   21st Century Centennial is a bona fide good faith purchaser
                        of the Subject Insurance Policies, for value;

                   d)   The terms of the transactions contemplated by this
                        Agreement, as well as the genesis and background of this
                        Agreement, have been disclosed to the Court;

                   e)   The terms and conditions of this Agreement (including the
                        consideration to be realized by ASPM’s bankruptcy estate)
                        are fair and reasonable;

                   f)   The transactions contemplated by this Agreement are in the
                        best interests of ASPM’s bankruptcy estate, its creditors, and
                        other stakeholders;

                   g)   The only potential holders of Interests in or against the
                        Subject Insurance Policies are ASPM Parties and Catholic
                        Entities and Persons who hold Claims against ASPM
                        Parties or Catholic Entities, whose Claims might be
                        covered by the Subject Insurance Policies;

                   h)   ASPM Entities and Catholic Entities are parties to the relief
                        sought in the motion to approve this Agreement, and hence
                        are deemed to have consented to the sale within the meaning
                        of Bankruptcy Code § 363(f)(2);

                   i)   The Abuse Claims are subject to bona fide dispute, hence the
                        Subject Insurance Policies may be sold free and clear of
                        such Claims pursuant to § 363(f)(4);

                   j)   All holders of Claims against the Subject Insurance Policies
                        could be compelled in a legal or equitable proceeding to
                        accept a money satisfaction of such Claims, therefore the
                        Subject Insurance Policies may be sold free and clear of
                        such Claims pursuant to § 363(f)(5);

                   k)   The compromises and settlements embodied in the
                        Agreement have been negotiated in good faith, and are
                        reasonable, fair and equitable;

                   l)   In light of the: (1) probability of success in the litigation of
                        the Insurance Coverage Adversary Proceeding; (2)
                        difficulties, if any, to be encountered in the matter of
                        collection; (3) complexity of the litigation involved, and the
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                        expense, inconvenience, and delay necessarily attending it;
                        and (4) paramount interest of the creditors and a proper
                        deference to their reasonable views, this Agreement is fair
                        and equitable and in the best interest of ASPM’s bankruptcy
                        estate and its creditors;

                   m)   The Buy-Back Payment is fair, adequate, and reasonable
                        consideration for (1) the sale by ASPM Parties and Catholic
                        Entities and buy-back by 21st Century Centennial of all of
                        ASPM Parties’ and Catholic Entities’ Interests in the
                        Subject Insurance Policies and any Interests of holders of
                        Abuse Claims or other Claims in the Subject Insurance
                        Policies, directly or indirectly, and (2) the release of 21st
                        Century Centennial hereunder;

                   n)   ASPM provided due and adequate notice of the (1) sale of the
                        Subject Insurance Policies; (2) terms and conditions of this
                        Agreement; and (3) hearing on the sale, in accordance with
                        Bankruptcy Rules 2002 and 6004 to all known and unknown
                        creditors;

                   o)   It would be impractical to divide the Subject Insurance
                        Policies amongst the ASPM Parties, Catholic Entities, and
                        holders of Abuse Claims, therefore, to realize the value of
                        the Subject Insurance Policies for ASPM’s bankruptcy
                        estate and the Abuse Claimants requires the sale of the
                        Subject Insurance Policies;

                   p)   The sale of the ASPM Parties’ and Catholic Entities’
                        Interests in the Subject Insurance Policies outside the
                        ordinary course of business satisfies the requirements of
                        Bankruptcy Code § 363(b);

                   q)   The sale of the Subject Insurance Policies, free and clear of
                        the Interests of all Persons satisfies the requirements of §
                        363(f);

                   r)   The Claims of any Persons holding Claims that would be
                        covered by the Subject Insurance Policies, which are being
                        acquired by 21st Century Centennial pursuant to this
                        Agreement, are deemed to be “interests” as that term is used
                        in Bankruptcy Code § 363(f) and as the term “Interests” is
                        defined herein; and,

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                    s)     The Agreement may be approved pursuant to Bankruptcy
                           Rule 9019(a).

The entry of the Approval Order containing all of the provisions set out in above sub-
paragraphs (1)-(8), but no provision that is contrary to or inconsistent with them, is a
condition precedent to the performance of 21st Century Centennial’ obligations under
this Agreement.

        C.   ASPM.

The term “ASPM” means the Archdiocese of St. Paul and Minneapolis, which is the
diocesan corporation formed pursuant to Minnesota Statutes Section 315.16 that is the
public juridic person of the Roman Catholic Archdiocese of Saint Paul and Minneapolis,
as now constituted or as it may have been constituted.

        D.   ASPM Entities.

The term “ASPM Entities” means, in their capacity as such:

             1.     ASPM’s past, present and future parents, subsidiaries, merged
                    companies, divisions and acquired companies of ASPM or any
                    predecessor to ASPM;

             2.     Any and all insureds, Persons named as insureds, additional
                    insureds, covered parties, or additional covered parties under the
                    Subject Insurance Policies;

             3.     Each of the foregoing Person’s respective past, present, and future
                    parents, affiliates, joint ventures, subsidiaries, merged companies,
                    divisions and acquired companies;

             4.     Each of the foregoing Person’s respective past, present and future
                    predecessors, successors and assigns; and,

             5.     Any and all of each of the foregoing Person’s past and present
                    employees, officers, directors, agents, shareholders, principals,
                    teachers, staff, members, boards, administrators, priests, deacons,
                    brothers, sisters, nuns, other clergy or Persons bound by monastic
                    vows, volunteers, agents, attorneys, and representatives of the
                    Persons identified in the foregoing subsections (1)-(4), in their
                    capacity as such.

An individual who perpetrated an act of abuse that forms the basis for an Abuse Claim is
not an ASPM Entity with respect to that Abuse Claim. No religious order, diocese or

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archdiocese, other than the Archdiocese itself, is an ASPM Entity, except to the extent, if
any, such religious order, diocese or archdiocese is an Other Insured Entity under the
Plan.

“ASPM Entities” does not include any Catholic Entity.

        E.    ASPM Parishes.

The terms “ASPM Parishes” means all past and present parishes of or in ASPM, except,
those parishes that became part of the Diocese of New Ulm in or after 1957, and, in their
capacity as such:

              1.     All of their past and present subsidiaries and the predecessors and
                     successors of such subsidiaries; their past and present affiliates and
                     joint ventures and their predecessors and successors; and all their
                     past, present and future assigns;

              2.     Any and all insureds, Persons named as insureds, additional
                     insureds and other insureds, or otherwise insured or claimed to be
                     insured under the Subject Insurance Policies;

              3.     Each of the foregoing Person’s respective past, present, and future
                     parents, affiliates, joint ventures, subsidiaries, merged companies,
                     divisions and acquired companies;

              4.     Each of the foregoing Person’s respective past, present and future
                     predecessors, successors and assigns; and,

              5.     Any and all of each of the foregoing Person’s past and present
                     employees, officers, directors, agents, shareholders, principals,
                     teachers, staff, members, boards, administrators, priests, deacons,
                     brothers, sisters, nuns, other clergy or religious, volunteers, agents,
                     attorneys, and representatives of the Persons identified in the
                     foregoing subsections (1)-(4), in their capacity as such.

An individual who perpetrated an act of abuse that forms the basis for an Abuse Claim is
not “ASPM Parishes” with respect to that Abuse Claim. No religious order, diocese, or
archdiocese is an ASPM Parish, except to the extent such religious order, diocese or
archdiocese is an Other Insured Entity under the Plan.

“ASPM Parishes” does not include any ASPM Entities or Related Entities.

        F.    ASPM Parties.

The term “ASPM Parties” means ASPM and ASPM Entities, collectively.
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        G.    Bankruptcy Notice.

The term “Bankruptcy Notice” means notice as required under Bankruptcy Rules 2002,
6004(a) and (c), and applicable local rules, sent to (i) all holders of Claims against the
ASPM Parties or Catholic Entities, including Abuse Claims, and their attorneys, if any,
who are known to ASPM; (ii) the Parish Unsecured Creditors Committee; (iii) the
Official Committee of Unsecured Creditors; (iv) the Future Claims Representative; (v)
all insurers of ASPM Parties and Catholic Entities, which provide coverage for or are
alleged to provide coverage for the Abuse Claims; (vi) the Secretary of the Department
of Health and Human Services; (vii) CMS; (viii) the United States Attorney for the
District of Minnesota; (ix) all Persons who, in the opinion of any of the Parties, might
reasonably be expected to be affected by the sale; and (x) all other Persons as directed by
the Bankruptcy Court. Notice shall also be given by (a) publication in the national
editions of the New York Times, the Chicago Tribune, the Los Angeles Times and
U.S.A. Today; (b) local publication within Saint Paul and Minneapolis, Minnesota, and
the surrounding areas, including every county in which an ASPM Party or Catholic
Entity is located; (c) publication in three newspapers with the largest circulation in the
State of Minnesota; and (d) publication in the largest newspaper in Milwaukee,
Wisconsin and the largest newspaper in Phoenix, Arizona.

        H.    Bankruptcy Plan Effective Date

The term “Bankruptcy Plan Effective Date” means the date upon which all the
conditions set forth in Sections 13.1 and 13.2 of the Plan have been satisfied.

        I.    Bankruptcy Orders.

The term “Bankruptcy Orders” means the Approval Order and the Confirmation
Order.

        J.    Bar Order.

The term “Bar Order” means an order barring, estopping, and permanently enjoining all
Persons from asserting any (a) Claims against the Subject Insurance Policies; (b)
Claims against 21st Century Centennial relating to the Subject Insurance Policies;
and (c) Medicare Claims. The terms of the Bar Order must be set forth in any motion
or brief seeking approval of this Agreement and the Approval Order.

        K.    Business Day.

The term “Business Day” means any day that is not a Saturday, Sunday, or legal holiday
in the State of Minnesota or the United Kingdom.

        L.    Buy-Back Payment.
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The term “Buy-Back Payment” means the payment by 21st Century Centennial to the
Trust of a sum equal to fifty percent (50%) of the Settlement Amount, for the buy-back
of all of the ASPM Parties’ and Catholic Entities’ Interests in the Subject Insurance
Policies.

        M.    Catholic Entities.

The term “Catholic Entities” means the ASPM Parishes and the Related Entities.

        H.    Channeled Claims.

The term “Channeled Claims” means (a) all Abuse Claims; and (b) all other Claims
against any ASPM Party, Catholic Entity, or Settling Insurer, the liability for which is
transferred to the Trust by the Plan. A Person who holds a Channeled Claim is
referred to herein as a “Channeled Claimant”.

        I.    Channeling Injunction.

The term “Channeling Injunction” means an order of the Bankruptcy Court enjoining
all Abuse and Channeled Claims by all Persons who now hold or in the future may hold
such Claims, pursuant to § 105 of the Bankruptcy Code.

        J.    Claim.

The term “Claim” means (a) a claim as that term is defined in § 101(5) of the Bankruptcy
Code; or (b) any claim, assertion of right, complaint, cross-complaint, counterclaim,
liabilities, rights, request, allegation, arbitration, mediation, lawsuit, litigation, direct
action, administrative proceeding, cause of action, suit, action, lien, debt, bill, indemnity,
equitable indemnity, right of subrogation, equitable subrogation, injunctive relief,
controversy, contribution, exoneration, covenant, agreement, promise, act, omission,
trespass, variance, damages, judgment, compensation, set-off, reimbursement, restitution,
cost, expense, loss, exposure, execution, attorneys’ fee, obligation, order, affirmative
defense, writ, demand, inquiry, request, directive, obligation, Proof of Claim in a
bankruptcy proceeding or submitted to a trust established pursuant to the Bankruptcy
Code, government claim or action, settlement, and/or any liability whatsoever, whether
past, present or future, known or unknown, asserted or unasserted, foreseen or
unforeseen, fixed or contingent, matured or unmatured, liquidated or unliquidated, direct,
indirect or otherwise consequential, whether in law, equity, admiralty or otherwise,
whether currently known or unknown, whether compromised, settled or reduced to a
consent judgment, that may exist now or hereinafter for property damages, compensatory
damages (such as loss of consortium, wrongful death, survivorship, proximate,
consequential, general and special damages), punitive damages, bodily injury, personal
injury, public and private claims, or any other right to relief whether sounding in tort,
contract, strict liability, equity, nuisance, trespass, statutory violation, wrongful entry or
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eviction or other eviction or other invasion of the right of private occupancy. For
avoidance of doubt, “Claim” includes any Abuse Claim, any Contribution Claim, any
Direct Action Claim, any Extra-Contractual Claim, any Medicare Claim and any
Channeled Claim.

        K.   CMS.

The term “CMS” means the Centers for Medicare and Medicaid Services of the United
States Department of Health and Human Services, located at 7500 Security Boulevard,
Baltimore, MD 21244-1850 and/or any other agent or successor Person charged with
responsibility for monitoring, assessing, or receiving reports made under MMSEA for
reimbursement of Medicare Claims.

        L.   Confirmation Order.

The term “Confirmation Order” means an order entered by the Court that has become a
Final Order after a confirmation hearing upon Bankruptcy Notice confirming the Plan,
in a form and substance as required by this Agreement, which has not been stayed. The
wording of the Confirmation Order shall be mutually acceptable to ASPM and 21st
Century Centennial. The Confirmation Order shall contain all of the following
provisions but no provision that is contrary to or inconsistent with this Agreement:

             1.     confirming the Plan;

             2.     specifically, and individually, ordering all Persons, as set forth in
                    the Plan, to act or refrain from acting as specified in the Plan;

             3.     incorporating the terms and provisions of the Bar Order as though
                    fully set forth therein;

             4.     ordering the entry of the Channeling Injunction and the Settling
                    Insurer Supplemental Injunction;

             5.     ordering that ASPM is discharged from all Claims, including all
                    Abuse and Channeled Claims;

             6.     ordering that all Channeled Claimants, who have pending actions in
                    state court against any Catholic Entity or ASPM Party, shall have
                    such Claims channeled to the Trust for resolution pursuant to the
                    Trust Agreement;

             7.     including the judgment reduction language set forth in Section VII
                    and in the Plan; and,


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             8.    incorporating the separately entered findings of fact and conclusions
                   of law, which are required under §§ 1129(a), and, if applicable,
                   105(a) and 1129(b), of the Bankruptcy Code, to confirm the Plan
                   and as necessary to dismiss with prejudice the Insurance Coverage
                   Adversary Proceeding, and making the following findings:

                   a)    This Agreement is the result of long-term negotiations
                         amongst ASPM Parties, Catholic Entities, and 21st
                         Century Centennial, which began in March 2015;

                   b)    The Plan Payment paid by 21st Century Centennial under
                         the Agreement provides good and valuable consideration to
                         ASPM’s bankruptcy estate, and enables unsecured creditors
                         such as the holders of Abuse Claims and Channeled Claims
                         to realize distributions;

                   c)    The Subject Insurance Policies listed on Attachment A are
                         property of ASPM’s bankruptcy estate and are therefore
                         subject to the core jurisdiction of the Bankruptcy Court;

                   d)    The Abuse and Channeled Claims against ASPM Parties
                         and Catholic Entities are within the jurisdiction of the
                         Bankruptcy Court because all of the Catholic Entities are
                         insured under the same insurance policies as the ASPM
                         Parties, which are those Subject Insurance Policies listed on
                         Attachment A;

                   e)    Because it would be impractical to divide the Subject
                         Insurance Policies listed on Attachment A, it was necessary
                         for ASPM to obtain Catholic Entities’ participation in this
                         Agreement;

                   f)    ASPM Entities and Catholic Entities would not release their
                         Interests under the Subject Insurance Policies unless they
                         obtained the benefits of the Channeling Injunction, because
                         to do so would have left them exposed to Abuse and
                         Channeled Claims, whether or not such Claims be valid and
                         whether or not coverage exists under the Subject Insurance
                         Policies for such Claims;

                   g)    Therefore, the Channeling Injunction is necessary to the
                         Agreement;


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                     h)     The Agreement is necessary to the Plan because it provides
                            significant funding for the Plan, and therefore the
                            Channeling Injunction is necessary to the Plan;

                     i)     The Channeling Injunction is narrowly tailored because it
                            enjoins only Abuse and Channeled Claims against ASPM
                            Parties and Catholic Entities;

                     j)     The Claims against the Subject Insurance Policies are
                            within the jurisdiction of the Bankruptcy Court because the
                            Subject Insurance Policies are property of ASPM’s
                            bankruptcy estate;

                     k)     21st Century Centennial required that they obtain the
                            benefits of the Settling Insurer Supplemental Injunction,
                            as a condition of entering into this Agreement, otherwise,
                            without such protection, there would be no reason for them to
                            contribute the Plan Payment;

                     l)     Therefore, the Settling Insurer Supplemental Injunction is
                            necessary to this Agreement and the Plan;

                     m)     The Settling Insurer Supplemental Injunction is narrowly
                            tailored because it only enjoins Claims relating to the
                            Subject Insurance Policies;

                     n)     21st Century Centennial repurchased the Subject
                            Insurance Policies, pursuant to this Agreement. 21st
                            Century Centennial did not purchase any other assets of
                            ASPM and is not a continuation of ASPM or engaging in a
                            continuation of ASPM’s business. 21st Century Centennial
                            shall not have any responsibility or liability with respect to
                            any of ASPM’s other assets; and,

                     o)     21st Century Centennial is not, and shall not be deemed to
                            be, a successor to ASPM by reason of any theory of law or
                            equity or as a result of the consummation of the transactions
                            contemplated in the Agreement, the Plan, or otherwise. 21st
                            Century Centennial shall not assume, or be deemed to have
                            assumed, any liabilities or other obligations of ASPM.

The entry of the Confirmation Order containing all of the provisions set out in above
sub-paragraphs (1)-(8), but no provision that is contrary to or inconsistent with them, is a

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condition precedent to the performance of 21st Century Centennial’s obligations under
this Agreement.

        M.    Contribution Claim.

The term “Contribution Claim” means any Claim, most commonly expressed in terms
of contribution, indemnity, equitable indemnity, subrogation, or equitable subrogation, by
one insurer against another insurer for the reimbursement of money paid by the first
insurer for having paid a debt, expense, or liability of its insured in a situation where two
or more policies by different insurers cover the same insured for the same loss, and the
first insurer contends it has paid more than its proper or proportionate share.

        N.    Court.

The term “Court” means the Bankruptcy Court or the United States District Court for
the District of Minnesota.

        O.    Direct Action Claim.

The term “Direct Action Claim” means any Claim by any Person against 21st Century
Centennial, which is identical or similar to, or arises out of the same or similar acts or
omissions giving rise to an Abuse or Channeled Claim, whether arising by contract, in
tort or under the laws of any jurisdiction, including any statute that gives a third party a
direct cause of action against an insurer.

        P.    Extra-Contractual Claim.

The term “Extra-Contractual Claim” means any Claim against 21st Century
Centennial, seeking any type of relief, including compensatory, exemplary, or punitive
damages, or attorneys’ fees, interest, costs or any other type of relief, on account of bad
faith; failure to provide insurance coverage under any Subject Insurance Policy; failure
or refusal to compromise and settle any Claim insured under any Subject Insurance
Policy; failure to act in good faith; violation of any covenant or duty of good faith and
fair dealing; under any state insurance codes, state surplus lines statutes or similar codes
or statutes; violation of any unfair claims practices act or similar statute, regulation or
code; any type of alleged misconduct or any other act or omission of any type for which
the claimant seeks relief other than coverage or benefits under an insurance policy.
Extra-Contractual Claims include any Claim relating to 21st Century Centennial’s
(a) handling of any request for insurance coverage for any Claim; and (b) conduct
relating to the negotiation of this Agreement.

        Q.    Final Order.


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The term “Final Order” means an order as to which the time to appeal, petition for
certiorari, petition for review, or move for reargument or rehearing has expired and as to
which no appeal, petition for certiorari, or other proceedings for reargument or rehearing
shall then be pending or as to which any right to appeal, petition for certiorari, review,
reargue, or rehear shall have been waived in writing in form and substance satisfactory to
ASPM and 21st Century Centennial, and their counsel or, in the event that an appeal,
writ of certiorari, petition for review, or reargument or rehearing thereof has been sought,
such order shall have been affirmed by the highest court to which such order was
appealed, or certiorari or review has been denied or from which reargument or rehearing
was sought, and the time to take any further appeal, petition for certiorari, petition for
review, or move for reargument or rehearing shall have expired; provided, however, that
the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules of Civil
Procedure or any analogous rule under the Bankruptcy Rules may be filed with respect to
such order shall not cause such order not to be a “Final Order”. For the avoidance of
doubt, if the Plan is substantially consummated as defined in § 1101(2) of the
Bankruptcy Code (“Substantial Consummation”), and any appeal of the Confirmation
Order becomes equitably moot due to Substantial Consummation, the Confirmation
Order shall be considered a Final Order.

        R.    Future Claims Representative.

The term “Future Claims Representative” or “FCR” means Judge Michael R. Hogan,
who has been appointed to represent those Persons whose claims against ASPM are
based on conduct that occurred in the past, before the conclusion of ASPM’s bankruptcy
case, but may be asserted in the future pursuant to applicable law or any order confirming
a plan.

        S.    Interests.

The term “Interests” means all liens, Claims, encumbrances, interests, defenses, and
other rights of any nature, whether at law or in equity, including all interests or other
rights under Minn. Stat. Chapter 60A, and all Abuse, Contribution, Direct Action,
Extra-Contractual, Medicare and Channeled Claims arising out of or related to the
Subject Insurance Policies.

        T.    21st Century Centennial.

The term “21st Century Centennial” means Swiss Re America Corporation as
Administrator for 21st Century Centennial Insurance Company, formerly known as
Colonial Penn Insurance Company; each of its past, present and future parents,
subsidiaries, affiliates, and divisions; each of the foregoing Person’s respective past,
present, and future parents, subsidiaries, affiliates, holding companies, merged
companies, related companies, divisions and acquired companies; each of the foregoing

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Person’s respective past, present, and future directors, officers, shareholders, employees,
partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and
claims handling administrators, and each of the foregoing Person’s respective
predecessors, successors, assignors, and assigns, whether known or unknown, and all
Persons acting on behalf of, by, through or in concert with them, except to the extent, if
any, such Person’s actual or alleged rights, duties, obligations, or liabilities arise out of
or relate to their status as, or conduct, acts, or omissions on behalf of, a Non-Settling
Insurer with respect to Non-Settling Insurer Policies.

        U.    Medicare.

The term “Medicare” means Title XVIII of the Social Security Act, 42 U.S.C. § 1395, et
seq., enacted July 1, 1966, including all subsequent amendments thereto.

        V.    Medicare Beneficiary.

The term “Medicare Beneficiary” means any individual who has received or is eligible
to receive benefits under Medicare and is the holder of a Channeled Claim.

        W.    Medicare Claims .

The term “Medicare Claims” means claims under MSP, including Claims for
reimbursement of payments made to Channeled Claim holders who recover from the
Trust.

        X.    MSP or Medicare Secondary Payor Act.

The term “Medicare Secondary Payor Act” or “MSP” means 42 U.S.C. § 1395y et
seq., or any other similar statute or regulation, and any related rules, regulations, or
guidance issued in connection therewith or amendments thereto.

        Y.    MMSEA.

The term “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
of 2007 (P.L.110-173)”, which imposes reporting obligations on those Persons with
payment obligations under the MSP.

        Z.    Person.

The term “Person” means any individual or entity, including any corporation, limited
liability company, partnership, general partnership, limited partnership, limited liability
partnership, limited liability limited partnership, proprietorship, association, joint stock
company, joint venture, estate, trust, trustee, personal executor or personal representative,
unincorporated association, or other entity, including any federal, international, foreign,

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state, or local governmental or quasi-governmental entity, body, or political subdivision
or any agency or instrumentality thereof.

        AA.   Plan.

The term “Plan” means a plan of reorganization proposed by ASPM and the Official
Committee of Unsecured Creditors that contains all of the following provisions but no
provision that is contrary to or inconsistent with this Agreement; allows all of the acts
and transactions under, and envisioned by, this Agreement to occur with binding legal
effect; and does not materially and adversely affect the rights, duties, or interests under
this Agreement of 21st Century Centennial, ASPM Parties or Catholic Entities. The
wording of the Plan shall be mutually acceptable to ASPM and 21st Century
Centennial. The Plan shall contain provisions:

              1.      incorporating this Agreement;

              2.      specifying that in the event of any conflict between the Plan or the
                      Confirmation Order and this Agreement, the terms of this
                      Agreement shall control;

              3.      prohibiting ASPM from continuing to pursue the Insurance
                      Coverage Adversary Proceeding and requiring ASPM to dismiss its
                      Claims against 21st Century Centennial in the Insurance Coverage
                      Adversary Proceeding with prejudice, within ten (10) days after the
                      entry of the Plan’s Effective Date;

              4.      prohibiting Continental Insurance Company, Continental Casualty
                      Company, and National Fire Insurance of Hartford from continuing
                      to pursue the Continental Third Party Claim and requiring the
                      Continental Insurance Company, Continental Casualty Company,
                      and National Fire Insurance of Hartford to dismiss the Continental
                      Third-Party Claim with prejudice, within ten (10) days after the
                      entry of the Confirmation Order;

              5.      setting forth the Channeling Injunction and the Settling Insurer
                      Supplemental Injunction;

              6.      establishing the Trust, appointing the Trustee, and binding both of
                      them to perform those requirements imposed upon them by this
                      Agreement;

              7.      describing the role of the FCR and seeking the continued
                      appointment of the FCR to continue in his duties;

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             8.    channeling all Channeled Claims to the Trust;

             9.    enjoining all Abuse Claims against 21st Century Centennial and
                   channeling such Claims to the Trust;

             10.   denominating 21st Century Centennial as a Settling Insurer;

             11.   requiring that each Channeled Claimant receiving a payment from
                   the Trust sign a written Claim Resolution Agreement substantially
                   similar to Exhibit E to the Plan [ECF Doc. ____];

             12.   including the following substantially similar provisions:

                   a)     It is the position of ASPM that none of ASPM Parties,
                          Catholic Entities, the Trust, nor Settling Insurers will have
                          any reporting obligations in respect of their contributions to
                          the Trust, or in respect of any payments, settlements,
                          resolutions, awards, or other claim liquidations by the Trust,
                          under the reporting provisions of MSP or MMSEA. Prior to
                          making any payments to any claimants, the Trust shall seek a
                          statement or ruling from the United States Department of
                          Health and Human Services (“HHS”) that none of the Trust,
                          ASPM Parties, Catholic Entities, or Settling Insurers have
                          any reporting obligations under MMSEA with respect to
                          payments to the Trust by ASPM Parties, Catholic Entities,
                          or Settling Insurers or payments by the Trust to claimants.
                          Unless and until there is definitive regulatory, legislative, or
                          judicial authority (as embodied in a final non-appealable
                          decision from the United States Court of Appeals for the
                          Eighth Circuit or the United States Supreme Court), or a
                          letter from the Secretary of Health and Human Services
                          confirming that ASPM Parties, Catholic Entities, and
                          Settling Insurers have no reporting obligations under
                          MMSEA with respect to any settlements, payments, or other
                          awards made by the Trust or with respect to contributions
                          ASPM Parties, Catholic Entities, or Settling Insurers have
                          made or will make to the Trust, the Trust shall, at its sole
                          expense, in connection with the implementation of the Plan,
                          act as a reporting agent for ASPM Parties, Catholic Entities,
                          and Settling Insurers, and shall timely submit all reports that
                          would be required to be made by ASPM Parties, Catholic
                          Entities, or any of the Settling Insurers under MMSEA on
                          account of any Claims settled, resolved, paid, or otherwise
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                        liquidated by the Trust or with respect to contributions to the
                        Trust, including reports that would be required if ASPM
                        Parties, Catholic Entities, or Settling Insurers were
                        determined to be “applicable plans” for purposes of MMSEA,
                        or any of ASPM Parties, Catholic Entities, or Settling
                        Insurers were otherwise found to have MMSEA reporting
                        requirements. The Trust, in its role as reporting agent for
                        ASPM Parties, Catholic Entities, and Settling Insurers,
                        shall follow all applicable guidance published by CMS to
                        determine whether or not, and, if so, how, to report to CMS
                        pursuant to MMSEA.

                   b)   If the Trust is required to act as a reporting agent for ASPM
                        Parties, Catholic Entities, or Settling Insurers pursuant to
                        the provisions of Section 1.EE.(xii)a., the Trust shall provide
                        a written certification to each of ASPM Parties, Catholic
                        Entities, and Settling Insurers within ten (10) Business Days
                        following the end of each calendar quarter, confirming that all
                        reports to CMS required by Section 1.EE.(xii)a. have been
                        submitted in a timely fashion, and identifying (a) any reports
                        that were rejected or otherwise identified as noncompliant by
                        CMS, along with the basis for such rejection or
                        noncompliance, and (b) any payments to Medicare
                        Beneficiaries that the Trust did not report to CMS.

                   c)   With respect to any reports rejected or otherwise identified as
                        noncompliant by CMS, the Trust shall, upon request by any
                        ASPM Party, Catholic Entity, or Settling Insurer, promptly
                        provide copies of the original reports submitted to CMS, as
                        well as any response received from CMS with respect to such
                        reports; provided, however, that the Trust may redact from
                        such copies the names, Social Security numbers other than
                        the last four digits, health insurance claim numbers, taxpayer
                        identification numbers, employer identification numbers,
                        mailing addresses, telephone numbers, and dates of birth of
                        the injured parties, claimants, guardians, conservators, and/or
                        other personal representatives, as applicable. With respect to
                        any such reports, the Trust shall reasonably undertake to
                        remedy any issues of noncompliance identified by CMS and
                        resubmit such reports to CMS, and, upon request by any
                        ASPM Party, Catholic Entity, or Settling Insurer, provide
                        ASPM Parties, Catholic Entities, and Settling Insurers
                        copies of such resubmissions; provided, however, that the
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                        Trust may redact from such copies the names, Social
                        Security numbers other than the last four digits, health
                        insurance claim numbers, taxpayer identification numbers,
                        employer identification numbers, mailing addresses,
                        telephone numbers, and dates of birth of the injured parties,
                        claimants, guardians, conservators, and/or other personal
                        representatives, as applicable. In the event the Trust is unable
                        to remedy any issue of noncompliance, the provisions of
                        Section 1.EE.(xii)g. shall apply.

                   d)   If the Trust is required to act as a reporting agent for ASPM
                        Parties, Catholic Entities, or Settling Insurers pursuant to
                        the provisions of Section 1.EE.(xii)a., with respect to each
                        Claim of a Medicare Beneficiary that was paid by the Trust
                        and not disclosed to CMS, the Trust shall, upon request by
                        any ASPM Party, Catholic Entity, or Settling Insurer,
                        promptly provide the last four digits of the claimant’s Social
                        Security number, the year of the claimant’s birth and any
                        other information that may be necessary in the reasonable
                        judgment of any ASPM Party, Catholic Entity, or Settling
                        Insurer to satisfy their obligations, if any, under MMSEA, as
                        well as the basis for the Trust’s failure to report the payment.
                        In the event any ASPM Party, Catholic Entity, or Settling
                        Insurer informs the Trust that it disagrees with the Trust’s
                        decision not to report a Claim paid by the Trust, the Trust
                        shall promptly report the payment to CMS. All
                        documentation relied upon by the Trust in making a
                        determination that a payment did not have to be reported to
                        CMS shall be maintained for a minimum of six (6) years
                        following such determination.

                   e)   If the Trust is required to act as a reporting agent for ASPM
                        Parties, Catholic Entities, or Settling Insurers pursuant to
                        the provisions of Section 1.EE.(xii)a., the Trust shall make
                        the reports and provide the certifications required by Sections
                        1.EE.(xii)a. and b. until such time as ASPM Parties,
                        Catholic Entities, and each of the Settling Insurers
                        determine, in their reasonable judgment, that they have no
                        further legal obligation under MMSEA or otherwise to report
                        any settlements, resolutions, payments, or liquidation
                        determinations made by the Trust or contributions to the
                        Trust. Furthermore, following any permitted cessation of
                        reporting, or if reporting has not previously commenced due
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                        to the satisfaction of one or more of the conditions set forth in
                        Section 1.EE.(xii)a., and if any ASPM Party, Catholic
                        Entity, or Settling Insurer reasonably determines, based on
                        subsequent legislative, administrative, regulatory, or judicial
                        developments, that reporting is required, then the Trust shall
                        promptly perform its obligations under Sections 1.EE.(xii)a.
                        and b.

                   f)   Section 1.EE.(xii)a. is intended to be purely prophylactic in
                        nature, and does not imply, and shall not constitute an
                        admission, that ASPM Parties, Catholic Entities, and/or
                        Settling Insurers are in fact “applicable plans” within the
                        meaning of MMSEA, or that they have any legal obligation to
                        report any actions undertaken by the Trust or contributions to
                        the Trust under MMSEA or any other statute or regulation.

                   g)   In the event that CMS concludes that reporting done by the
                        Trust in accordance with Section 1.EE.(xii)a. is or may be
                        deficient in any way, and has not been corrected to the
                        satisfaction of CMS in a timely manner, or if CMS
                        communicates to the Trust, any ASPM Party, Catholic
                        Entity, or Settling Insurer a concern with respect to the
                        sufficiency or timeliness of such reporting, or there appears to
                        any ASPM Party, Catholic Entity, or Settling Insurer a
                        reasonable basis for a concern with respect to the sufficiency
                        or timeliness of such reporting or non-reporting based upon
                        the information received pursuant to Section 1.EE.(xii)b., c.,
                        or d., or other credible information, then each ASPM Party,
                        Catholic Entity, or Settling Insurer shall have the right to
                        submit its own reports to CMS under MMSEA, and the Trust
                        shall provide to any Entity that elects to file its own reports
                        such information as the electing party may require in order to
                        comply with MMSEA, including the full reports filed by the
                        Trust pursuant to Section 1.EE.(xii)a. without any redactions.
                        ASPM Parties, Catholic Entities, and Settling Insurers
                        shall keep any information they receive from the Trust
                        pursuant to this Section 1.EE.(xii)g. confidential and shall not
                        use such information for any purpose other than meeting
                        obligations under MMSEA.

                   h)   Notwithstanding any other provisions hereof, if the Trust is
                        required to act as a reporting agent for any ASPM Party,
                        Catholic Entity, or Settling Insurer, then such Persons shall
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                        take all steps necessary and appropriate as required by CMS
                        to permit any reports contemplated by this Section 1.EE.(xii)
                        to be filed. Provided, however, if a Protected Party or Settling
                        Insurer is in the sole possession of information necessary for
                        the Trust to perform its reporting duties under (a) of this
                        Section, then until such Protected Party or Settling Insurer
                        provides the Trust with such information required by the
                        CMS’s Coordination of Benefits Contractor to effectuate
                        reporting, the Trust shall have no obligation to report under
                        (a) of this Section with respect to any such Person that has not
                        provided such information, to the extent that such Person has
                        not provided such information; and the Trust shall have no
                        indemnification obligation under (k) of this Section to such
                        Protected Party or Settling Insurer for any penalty, interest, or
                        sanction that may arise solely on account of such Protected
                        Party’s or Settling Insurer’s failure to timely provide such
                        information to the Trust in response to a timely request by the
                        Trust for such information.

                   i)   In connection with the implementation of the Plan, the
                        Trustee shall obtain, prior to remittance of funds to
                        claimants’ counsel or the claimant, if pro se, in respect of any
                        Abuse Claim a certification from the claimant to be paid that
                        said claimant has or will provide for the payment and/or
                        resolution of any obligations owing or potentially owing
                        under MSP relating to such Abuse Claim; otherwise the
                        Trust shall withhold from any payment to the claimant funds
                        sufficient to assure that any obligations owing or potentially
                        owing under MSP relating to such Abuse Claim are paid to
                        CMS. The Trust shall provide a quarterly certification of its
                        compliance with this Section 1.EE.(xii) to each ASPM Party,
                        Catholic Entity, and Settling Insurer, and permit reasonable
                        audits by such Persons, no more often than quarterly, to
                        confirm the Trust’s compliance with this Section 1.HH.(xiii).
                        For the avoidance of doubt, the Trust shall be obligated to
                        comply with the requirements of this Section 1.EE.(xii)
                        regardless of whether any ASPM Party, Catholic Entity, or
                        Settling Insurer elects to file its own reports under MMSEA
                        pursuant to Section 1.EE.(xii)g.

                   j)   Compliance with the provisions of this Section 1.EE.(xii)
                        shall be a material obligation of the Trust in favor of the
                        Settling Insurers under any settlement agreements between
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                           any of those insurers and ASPM Parties and/or Catholic
                           Entities, which authorizes funding to the Trust.

                    k)     The Trust shall defend, indemnify and hold harmless ASPM
                           Parties, Catholic Entities, and Settling Insurers from any
                           Claims in respect of Medicare Claims reporting and
                           payment obligations in connection with Abuse Claims,
                           including any obligations owing or potentially owing under
                           MMSEA or MSP, and any Claims related to the Trust’s
                           obligations under Section 1.EE.(xii).

For purposes of this Agreement, the term “Plan” includes all papers, exhibits,
attachments, appendices, or other documents filed with or in support of the Plan and
necessary for its implementation, and any documents relating to the establishment and
operation of the Trust.

        BB.   Plan Payment.

The term “Plan Payment” means the payment by 21st Century Centennial to ASPM’s
bankruptcy estate of a sum equal to fifty percent (50%) of the Settlement Amount for
the entry of the Channeling Injunction and the Settling Insurer Supplemental
Injunction.

        CC.   Related Entities.

The term “Related Entities” means those Persons who are listed on Attachment B,
which are not ASPM Parishes, and, in their capacity as such, the following:

              1.    All of their past and present subsidiaries and the predecessors and
                    successors of such subsidiaries; their past and present affiliates and
                    joint ventures and their predecessors and successors; and all their
                    past, present and future assigns;

              2.    Any and all insureds, Persons named as insureds, additional
                    insureds and other insureds, or otherwise insured or claimed to be
                    insured under the Subject Insurance Policies;

              3.    Each of the foregoing Person’s respective past, present, and future
                    parents, affiliates, joint ventures, subsidiaries, merged companies,
                    divisions and acquired companies;

              4.    Each of the foregoing Person’s respective past, present and future
                    predecessors, successors and assigns; and,


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              5.     Any and all of each of the foregoing Person’s past and present
                     employees, officers, directors, agents, shareholders, principals,
                     teachers, staff, members, boards, administrators, priests, deacons,
                     brothers, sisters, nuns, other clergy or religious, volunteers, agents,
                     attorneys, and representatives of the Persons identified in the
                     foregoing subsections (1)-(3), in their capacity as such.

Provided, however, that no religious order, diocese, or archdiocese, other than the
Archdiocese itself, is a Related Entity, except to the extent such religious order, diocese
or archdiocese is an Other Insured Entity under the Plan.

“Related Entities” does not include any ASPM Entity or ASPM Parish.

        DD.   Reorganized Debtor

The term “Reorganized Debtor” means the ASPM, on and after the Bankruptcy Plan
Effective Date.

        EE.   Settlement Amount.

The term “Settlement Amount” means the net sum of Five Hundred Thousand Dollars
($500,000), which comprises the Buy-Back Payment and the Plan Payment. 21st
Century Centennial shall pay the Settlement Amount pursuant to the terms of Section
II.

        FF.   Settling Insurer Supplemental Injunction.

The term “Settling Insurer Supplemental Injunction” means an order of the Court
enjoining all Claims relating to the Subject Insurance Policies, including all Abuse,
Contribution, Direct Action, Extra-Contractual, Medicare and Channeled Claims,
by all Persons who now hold or in the future may hold such Claims against the Settling
Insurers, pursuant to § 105 of the Bankruptcy Code or other provision of the Bankruptcy
Code or applicable law.

        GG. Settling Insurers.

The term “Settling Insurers” means 21st Century Centennial and any other insurer of
ASPM Parties or Catholic Entities, which settles after the Petition Date and which
obtains the protection of the Settling Insurer Supplemental Injunction as part of its
settlement with ASPM.

        HH. Subject Insurance Policies.

The term “Subject Insurance Policies” means all insurance policies listed in
Attachment A hereto.
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        II.   Termination Event.

The term “Termination Event” means that any one of the following orders, to wit, (i),
(ii), or (iii) below in this paragraph, has been entered and either (a) it has become a Final
Order or (b) the Debtor has sought appellate review of such order by all available means,
legal or equitable, and such review has been denied by all applicable appellate courts, and
one year has elapsed since the final attempt to obtain review has been denied: an order
that (i) is contrary to or inconsistent with the Approval Order, or that denies approval of
this Agreement; (ii) is contrary to or inconsistent with the Confirmation Order, or that
denies confirmation of the Plan (as defined herein); or (iii) confirms a plan of
reorganization other than the Plan (as defined herein).

        JJ.   Trust.

The term “Trust” means the trust to be established under the Plan, which assumes
liability for, and is established to pay, in whole or in part, “Channeled Claims” (as
defined below), pursuant to the Plan and, if applicable, § 105 of the Bankruptcy Code.

        KK. Trust Agreement.

The term “Trust Agreement” means the Trust Agreement and Trust Distribution Plan,
filed as exhibit D to the Plan, establishing the Trust, as it may be amended, together with
such additional documents as may be executed in connection with the Trust Agreement.

        LL.   Trustee.

The term “Trustee” means the Person appointed to administer the Trust, in accordance
with the terms of the Plan.

II.     Payment of the Settlement Amount.

The Settlement Amount will be paid in two separate payments: the Buy-Back Payment
and the Plan Payment. 21st Century Centennial’s obligation to make the Buy-back
Payment and the Plan Payment is conditioned on the Archdiocese obtaining the
Bankruptcy Orders and all of the Bankruptcy Orders becoming Final Orders. In full
and final settlement of all obligations under and relating to the Subject Insurance
Policies, and in consideration of the sale of the foregoing to 21st Century Centennial
free and clear of all Interests of any Person in the Subject Insurance Policies, and the
other releases provided herein, 21st Century Centennial shall pay to the Trust, in
accordance with the Plan, the Buy-back Payment and Plan Payment within sixty (60)
Business Days after 21st Century Centennials receive both (a) written notice from the
Archdiocese or the Trustee that the Bankruptcy Orders have become Final Orders and
(b) directions as to transmission of the payments.

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On the date that the Confirmation Order becomes a Final Order, the sale, assignment,
and transfer of the Subject Insurance Policies by ASPM Parties and Catholic Entities
to 21st Century Centennial free and clear of all Interests of all Persons, including
ASPM Parties and Catholic Entities, shall be effective and binding, with the intent that
no Person shall retain anything whatsoever with respect to the Subject Insurance
Policies.

If, before the Settlement Amount has been paid in full, an ASPM Entity or Catholic
Entity becomes a debtor in a bankruptcy case or insolvency proceeding, under the
Bankruptcy Code or otherwise, and 21st Century Centennial has not satisfied its
payment obligation, then 21st Century Centennial shall be excused from performance
under this Agreement until such time as such ASPM Entity or Catholic Entity obtains,
subject to the limitations imposed by the Bankruptcy Code and subject to the equitable
powers of the Bankruptcy Court, an order from the Bankruptcy Court approving this
Agreement under § 363(b), (f) and (m) of the Bankruptcy Code and Federal Rule of
Bankruptcy Procedure 9019 and authorizing the assumption by such ASPM Entity or
Catholic Entity (or any successor thereto) of this Agreement under Bankruptcy Code
§ 365 (“Assumption”), or in the event the insolvency case is proceeding under other law,
shall obtain a similar order from the court overseeing the insolvency case approving this
Agreement and confirming the binding effect thereof. Each ASPM Entity and Catholic
Entity agrees that in the event it files a bankruptcy or other insolvency proceeding, it will
not present any Claim for payment under this Agreement to 21st Century Centennial,
until such time as such ASPM Entity or Catholic Entity has made such Assumption and
such Assumption has been approved by an order of the Bankruptcy Court or other
applicable court, and such order has become a Final Order.

III.    Mutual Releases.

        A.    By ASPM Parties and Catholic Entities.

Upon the Trust’s receipt of 21st Century Centennial’s Buy-Back Payment and Plan
Payment, the Trust, ASPM Parties, and Catholic Entities, and any subsequently
appointed trustee or representative acting for the Trust, ASPM Parties, or Catholic
Entities, shall be deemed to remise, release, covenant not to sue, and forever discharge
21st Century Centennial from and against all Claims that the Trust and any ASPM
Party or Catholic Entity ever had, now has, or hereafter may have, from the beginning
of time to the date that the Confirmation Order becomes a Final Order, related to the
Subject Insurance Policies. For the avoidance of doubt, if the Subject Insurance Policy
was not issued to ASPM, (i) the ASPM Parties release 21st Century Centennial only to
the extent of the ASPM Parties’ Interest in such policy; and (ii) the Catholic Entities
shall only release their Claims for insurance coverage under such policy only to the
extent that such claims relate to Abuse Claims. (The foregoing paragraph is hereinafter

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referred to as the “Entities’ Release”.) Nothing in the foregoing clause is intended to
suggest that any of the Subject Insurance Policies were not issued to the ASPM.

It is the intention of ASPM Parties and Catholic Entities to reserve no rights or benefits
whatsoever under or in connection with the Subject Insurance Policies and to assure
21st Century Centennial their peace and freedom from such Interests and from all
assertions of rights in connection with such Interests, provided, however, this Entities’
Release does not release, and nothing in this Agreement shall affect the right of ASPM
Parties, Catholic Entities, or the Trust, as applicable, to assert and pursue claims
against and to collect from other insurers and no Claims are released with respect to such
insurers.

Upon the Trust’s receipt of 21st Century Centennial’s Buy-Back Payment and the
Plan Payment, any and all rights, duties, responsibilities, and obligations of 21st
Century Centennial created by or in connection with the Subject Insurance Policies,
are hereby terminated. As of the date of such payment ASPM Parties and Catholic
Entities have no insurance coverage under the Subject Insurance Policies. The
Entities’ Release is intended to operate as though 21st Century Centennial had never
issued or subscribed the Subject Insurance Policies.

All of the releases and other benefits provided in this Agreement by ASPM Parties and
Catholic Entities to 21st Century Centennial are at least as favorable as the releases
and other benefits that ASPM Parties and Catholic Entities have provided to any other
Settling Insurer to the extent such circumstances are similar. If the ASPM Parties and
Catholic Entities enter into any agreement with any Settling Insurer that provides such
Settling Insurer with releases or other benefits that are more favorable than those
contained in this Agreement to the extent the circumstances are similar, then this
Agreement shall be deemed to be modified to provide to 21st Century Centennial with
those more favorable releases and/or benefits. The ASPM Parties and Catholic Entities
shall promptly notify 21st Century Centennial of settlements with other insurers related
to the subject matter of this settlement.

Each ASPM Party and Catholic Entity understands and acknowledges that by signing
this Agreement, it, among other things, is releasing all Claims described herein against
21st Century Centennial, including Claims that it does not know or suspect to exist in
its favor, which, if known by such ASPM Party or Catholic Entity, must have
materially affected its settlement with 21st Century Centennial, and expressly waives
all rights it might have under any federal, state, local, or other law or statute that would in
any way limit, restrict, or prohibit such general release.

Each ASPM Party and Catholic Entity expressly assumes the risk that acts, omissions,
matters, causes or things may have occurred which it does not know or does not suspect
to exist. Each ASPM Party and Catholic Entity hereby waives the terms and provisions
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of any statute, rule or doctrine of common law which either: (i) narrowly construes
releases purporting by their terms to release claims in whole or in part based upon, arising
from, or related to such acts, omissions, matters, causes or things; or, (ii) which restricts
or prohibits the releasing of such claims.

Nothing in the foregoing shall release 21st Century Centennial from its obligations
under this Agreement, including the obligation to make the Buy Back and Plan
Payments.

        B.    By 21st Century Centennial.

At the same time the Entities’ Release described in Section III(A) becomes effective,
21st Century Centennial shall be deemed to remise, release, covenant not to sue, and
forever discharge: (i) each ASPM Party and Catholic Entity; (ii) each ASPM Party’s
and Catholic Entity’s present and former officers, directors, employees, partners, limited
partners, shareholders, members, subsidiaries, affiliates, representatives, attorneys and
agents, in such capacity; and (iii) the respective heirs, executors, administrators,
successors, and assigns of any of the Persons identified in subparagraphs (i) and (ii)
hereof as follows: from and against all Claims, which 21st Century Centennial ever
had, now has or hereinafter may have from the beginning of time to the date that the
Confirmation Order becomes a Final Order.

IV.     Indemnification.

        A.    The Trust or the Reorganized Debtor, to the extent provided by and
              subject to the terms of the Plan, shall indemnify and hold harmless 21st
              Century Centennial in respect of any and all Claims arising under or
              relating in any way to the Subject Insurance Policies, including all
              Claims, whether Abuse, Contribution, Direct Action, Extra-
              Contractual, Medicare or Channeled Claims, or otherwise, made by: (i)
              other insurers of ASPM Parties or Catholic Entities; (ii) any Person
              claiming to be insured under the Subject Insurance Policies; (iii) any
              Person who has made, will or can make such Claim; (iv) any Person who
              has acquired or been assigned the right to make such Claim under the
              Subject Insurance Policies; or (v) any federal, state or local government or
              any political subdivision, agency, department, board or instrumentality
              thereof, including the State of Minnesota, pursuant to the Minnesota
              Landfill Cleanup Act, Minn. Stat. § 115B.39 et seq. or the Minnesota
              Insurance Recovery Act of 1996, Minn. Stat. § 115B.441 et seq. This
              indemnification includes Claims made by Persons over whom the Trust
              does not have control, including ASPM Parties and Catholic Entities,
              former subsidiaries, predecessors in interest, sellers or purchasers of assets,
              or any other Person who asserts Claims against, Interests in or to, or
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              rights to coverage under the Subject Insurance Policies. For purposes of
              the indemnification obligation of the Trust, the term “Claim” also includes
              amounts paid in respect of any judgment, order, decree, settlement,
              contract, or otherwise.

        B.    As to any matter for which the Trust has indemnification obligations to
              21st Century Centennial, 21st Century Centennial shall have the right to
              defend, with counsel of its choice, all Claims identified under Section
              IV.A. 21st Century Centennial may begin the defense of any Claim upon
              receipt of such a Claim. 21st Century Centennial agrees to notify the
              Trust as soon as practicable of Claims identified under Section IV.A. and
              of its choice of counsel.

        C.    As to any matter as to which the Reorganized Debtor has any
              indemnification or defense obligations, 21st Century Centennial’s rights
              and obligations shall be to the extent of and as provided in the Plan.

        D.    As to any matter for which the Trust owes any indemnity or defense
              obligations, the Trust shall reimburse all reasonable and necessary
              attorneys' fees, expenses, costs, and amounts incurred by 21st Century
              Centennial in defending such Claims. 21st Century Centennial shall
              defend any such Claim in good faith. In defense of any such Claim, 21st
              Century Centennial may settle or otherwise resolve a Claim with the prior
              consent of the Trust which consent shall not be unreasonably withheld.

        E.    As to any matter as to which the Reorganized Debtor has indemnification
              or defense obligations, 21st Century Centennial’s rights and obligations
              and the Debtors’ rights and obligations shall be to the extent of and as
              provided in the Plan.

        F.    This indemnification and hold harmless undertaking (Sections IV.A., B.
              and C) shall also extend to the benefit of the Underwriter Third-Party
              Beneficiaries, in their capacity as such, all of which are third-party
              beneficiaries of the terms of this indemnification and hold harmless
              undertaking.

V.      Bankruptcy Obligations.

        A.   ASPM shall provide to 21st Century Centennial an initial draft of the
             proposed approval order, proposed findings of fact and conclusions of law in
             support of the Approval Order, and the proposed Bar Order twenty (20)
             days before ASPM submits the foregoing to the Bankruptcy Court, so that
             21st Century Centennial may provide comments and suggestions. In the
             event that ASPM makes material revisions to any of the foregoing
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             documents, then, as soon as possible, ASPM shall provide a copy of such
             material revisions to 21st Century Centennial. 21st Century Centennial
             reserves the right to object, inter alia, (i) to any proposed approval order or
             findings of fact and conclusions of law in support thereof that do not satisfy
             all of the requirements of the definition of “Approval Order” set forth in
             Section 1.B., and (ii) to any proposed bar order that does not satisfy all of
             the requirements of the definition of “Bar Order” set forth in Section 1.I.

        B.   ASPM shall provide to 21st Century Centennial an initial draft of the
             proposed confirmation order and proposed findings of fact and conclusions
             of law in support of the Confirmation Order twenty (20) days before
             ASPM submits the foregoing to the Bankruptcy Court, so that 21st
             Century Centennial may provide comments and suggestions. In the event
             that ASPM makes material revisions to any of the foregoing documents,
             then, as soon as possible, ASPM shall provide a copy of such material
             revisions to 21st Century Centennial. 21st Century Centennial reserve
             the right to object, inter alia, to any proposed confirmation order or findings
             of fact and conclusions of law in support thereof that do not satisfy all of the
             requirements of the definition of “Confirmation Order” set forth in Section
             1.P.

        C.   ASPM shall provide to 21st Century Centennial a draft of any proposed
             plan of reorganization ten (10) days before ASPM submits the foregoing to
             the Bankruptcy Court, so that 21st Century Centennial may provide
             comments and suggestions. In the event that ASPM makes material
             revisions to the proposed plan of reorganization, then, as soon as possible,
             ASPM shall provide a copy of such material revisions to 21st Century
             Centennial. 21st Century Centennial reserve the right to object, inter alia,
             to any proposed plan of reorganization that does not satisfy all of the
             requirements of the definition of “Plan” set forth in Section 1.EE. (“Non-
             Compliant Plan”). If ASPM proposes a Non-Compliant Plan, then 21st
             Century Centennial may contest such plan, and ASPM shall not request a
             hearing date on confirmation of such plan which is less than one hundred
             and twenty (120) Business Days after the date upon which such plan is filed
             in the Bankruptcy Court.

        D.   ASPM will seek entry of the Confirmation Order together with supporting
             findings of fact and conclusions of law as set forth in Section 1.P., including
             any required findings and conclusions under the Bankruptcy Code.

        E.   ASPM shall serve Bankruptcy Notice of the hearing(s) on confirmation of
             the Plan and approval of this Agreement and the time for filing objections
             thereto. The proposed form of notice shall be submitted to 21st Century
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             Centennial for their approval no later than ten (10) days prior to the actual
             service of notice, such approval not to be unreasonably withheld.

        F.   In the event that any Person attempts to prosecute a Claim against 21st
             Century Centennial relating to the Subject Insurance Policies before the
             Confirmation Order becomes a Final Order, including an Abuse Claim, a
             Contribution Claim, a Direct Action Claim, an Extra-Contractual
             Claim, a Medicare Claim, a Channeled Claim, a Claim relating to the
             Subject Insurance Policies, or a Claim made, or that could have been
             made, in the Insurance Coverage Adversary Proceeding, then promptly
             following notice from 21st Century Centennial to do so, ASPM, and to the
             extent allowed, Catholic Entities, if any, will file a motion and supporting
             papers to obtain an order from the Bankruptcy Court, pursuant to
             Bankruptcy Code § 105(a) and/or 362(b), as applicable, staying such Claims
             until the date that the Confirmation Order becomes a Final Order, or,
             alternatively, this Agreement is terminated under Section VIII. If such
             Claim is against the ASPM Parties or a Catholic Entity and the stay is not
             granted, then 21st Century Centennial shall be obligated to pay the
             reasonable and necessary fees and costs incurred to defend such Claim to
             the extent required by the Subject Insurance Policy and applicable law. If
             no insurer defends against such Claim, the ASPM or Catholic Entity
             against whom the Claim is asserted shall defend against the Claim. 21st
             Century Centennial shall have the obligation to indemnify the ASPM
             Parties and Catholic Entities under the Subject Insurance Policies
             applicable to such Claims to the extent, if any, required under such policies
             in the absence of this Agreement. Any amounts paid by 21st Century
             Centennial in connection with the defense of or indemnification of any such
             Claim asserted against an ASPM Party or Catholic Entity shall be
             deducted from the amount that 21st Century Centennial is required to pay
             under this Agreement in proportion to the amount of such fees and costs
             paid by 21st Century Centennial. If such amount paid by 21st Century
             Centennial reaches the Settlement Amount, then 21st Century
             Centennial will automatically be relieved of any further obligations it might
             have had with respect to the defense or indemnification of any such Claim
             or any other Claim unless this Agreement is terminated in accordance with
             Section VIII. The ASPM or Catholic Entity shall ensure that all such
             Claims are otherwise defended and that no default is entered to the extent
             feasible.

        G.   In the event that any Person attempts to prosecute a Claim relating to the
             Subject Insurance Policies or an Abuse Claim against any ASPM Party
             or Catholic Entity before the Confirmation Order becomes a Final
             Order, including an Abuse Claim, a Contribution Claim, a Direct Action
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             Claim, an Extra-Contractual Claim, a Medicare Claim, a Channeled
             Claim, or a Claim made, or that could have been made, in the Insurance
             Coverage Adversary Proceeding, then promptly following notice from the
             ASPM Party or Catholic Entity against which such attempt was made to
             do so, ASPM, and to the extent allowed, Catholic Entities, if any, will file a
             motion and supporting papers to obtain an order from the Bankruptcy
             Court, pursuant to Bankruptcy Code § 105(a) and/or 362(b), as applicable,
             staying such Claims until the date that the Confirmation Order becomes a
             Final Order, or, alternatively, this Agreement is terminated under Section
             VIII. If the motion for the stay is not granted, then 21st Century
             Centennial’s obligations relating to such litigation shall be determined by
             the Subject Insurance Policies. If the Confirmation Order becomes a
             Final Order, then any amounts paid by 21st Century Centennial in
             connection with the indemnification of any such Claim shall be deducted
             from the Settlement Amount. If such amount paid by 21st Century
             Centennial reaches the Settlement Amount, then 21st Century
             Centennial will automatically be relieved of any further obligations under
             this Agreement. In such event, 21st Century Centennial shall have no
             further obligation with respect to the Interests unless the Agreement is
             terminated in accordance with paragraph 8 and in such event shall be
             entitled to a full credit for the amounts paid. The ASPM Parties or
             Catholic Entities that were sued shall ensure, to the extent feasible, that all
             such Claims are defended and that no default is entered.

VI.     Representations and Warranties.

        A.    ASPM represents and warrants that the notice required under the definition
              of “Bankruptcy Notice” includes all claimants whose names and addresses
              are known to ASPM or are readily ascertainable.

        B.    Each Catholic Entity represents and warrants that it has the authority to
              execute this Agreement as its binding and legal obligation.

        C.    ASPM represents and warrants that it has the authority to execute this
              Agreement as a binding and legal obligation of each ASPM Entity.

        D.    Each Party represents and warrants that the Persons signing this
              Agreement on its behalf are authorized to execute this Agreement.

        E.    Each individual signing this Agreement on behalf of a Party represents and
              warrants that he or she has the right, power, legal capacity and authority to
              enter into this Agreement on behalf of such Party and bind such Party to
              perform each of the obligations specified herein.

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VII.    Judgment Reduction Clause.

The Plan shall provide substantially as follows:

        A.    In any proceeding, suit, or action, including the Insurance Coverage
              Adversary Proceeding, to the extent the Insurance Coverage Adversary
              Proceeding remains pending against insurers that are not Settling Insurers
              and is assigned to the Trust pursuant to the Plan, involving the Trust and
              one or more other insurers, where any insurer has asserted, asserts, or could
              assert any Contribution Claim against 21st Century Centennial, then any
              judgment obtained by the Trust against such other insurer shall be
              automatically reduced by the amount, if any, that 21st Century Centennial
              would have been liable to pay such other insurer as a result of that insurer’s
              Contribution Claim so that the Contribution Claim by such other insurer
              against 21st Century Centennial is thereby satisfied and extinguished
              entirely. In order to effectuate this clause in any action against another
              insurer where 21st Century Centennial is not a party, such other insurer
              shall obtain a finding from that court of what amount 21st Century
              Centennial would have been required to pay such other insurer under its
              Contribution Claim, before entry of judgment against such other insurer.

        B.    If a settlement agreement between the ASPM or Trust and another insurer
              relating to Abuse Claims fails to include a provision whereby such other
              insurer releases Contribution Claims against 21st Century Centennial so
              long as 21st Century Centennial releases Contribution Claims against
              the other insurer, then in such settlement agreement, where such other
              insurer has asserted, asserts, or could assert any Contribution Claim
              against 21st Century Centennial, then any settlement amount agreed by
              the settling parties shall be automatically reduced by the amount, if any,
              that 21st Century Centennial would have been liable to pay such other
              insurer as a result of that other insurer’s Contribution Claim, so that the
              Contribution Claim by such other insurer against 21st Century
              Centennial is thereby satisfied and extinguished entirely. In the event that
              the settling parties are unable to agree on the amount of the Contribution
              Claim being extinguished, the settling parties shall obtain a finding from
              the court of what amount 21st Century Centennial would have been
              required to pay such other insurer under its Contribution Claim.

        C.    21st Century Centennial agrees that it will not pursue any Contribution
              Claim that it might have against any insurer (a) described in Section VII.A,
              whose Contribution Claim against 21st Century Centennial is satisfied
              and extinguished entirely; or (b) that does not make a Contribution Claim
              against 21st Century Centennial. Notwithstanding the foregoing, if a
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              Person pursues a Contribution Claim against 21st Century Centennial,
              then 21st Century Centennial shall be free to assert its Contribution
              Claims against such Person.

        D.    The Trust shall use its best efforts to obtain from all other insurers with
              which it executes a settlement after the date this Agreement has been fully
              executed, agreements similar to those contained in this Section VII.

VIII. Termination of Agreement.

        A.    The Parties may terminate this Agreement in writing upon mutual assent.

        B.    Either Party may terminate this Agreement upon thirty (30) Business
              Days’ notice to the other Party if a Termination Event occurs.

        C.    In the event of termination hereunder, this Agreement shall be void ab
              initio and the Parties shall retain all of their Interests relating to the
              Subject Insurance Policies as if this Agreement never existed.

IX.     Reasonably Equivalent Value.

The Parties acknowledge and agree that: (i) this Agreement was bargained for and
entered into in good faith and as the result of arms-length negotiations; (ii) based on their
respective independent assessments, with the assistance and advice of counsel, of the
probability of success, the complexity, the delay in obtaining relief, and the expense of
maintaining the Insurance Coverage Adversary Proceeding, the payments received by the
Trust pursuant to this Agreement constitute a fair and reasonable settlement of ASPM’s
Claims asserted in the Insurance Coverage Adversary Proceeding, and the Claims raised
in the Dispute; (iii) the payments and other benefits received under this Agreement by
the Trust, ASPM Parties, and Catholic Entities constitute reasonably equivalent value
for the Release, indemnity, and other benefits received by 21st Century Centennial
under this Agreement; and (iv) this Agreement constitutes a full and final resolution of
all issues in the Insurance Coverage Adversary Proceeding.

X.      Confidentiality.

Except as necessary to obtain approval of this Agreement in the Bankruptcy Court, the
Parties agree that all matters relating to the negotiation of this Agreement shall be
confidential and are not to be disclosed except by order of court or agreement, in writing,
of the Parties, except that, provided recipients agree to keep such information
confidential, this Agreement may be disclosed to: (i) reinsurers of 21st Century
Centennial directly or through intermediaries; (ii) outside auditors or accountants of any
Party; (iii) representatives of a non-party insurer subscribing or allegedly subscribing one
or more of the Subject Insurance Policies, which insurer is, has been or may become
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insolvent in the future, including any liquidators, provisional liquidators, scheme
administrators, trustees, or similarly empowered Persons acting for such insurer. This
Agreement may also be disclosed, as required, to the Internal Revenue Service or other
U.S. governmental authority that properly requires disclosure, or as otherwise required by
law.

In the event a private litigant, by way of document request, interrogatory, subpoena, or
questioning at deposition or trial, attempts to compel disclosure of anything protected by
this section, the Party from whom disclosure is sought shall decline to provide the
requested information on the ground that this Agreement prevents such disclosure. In
the event such private litigant seeks an Order from any court or governmental body to
compel such disclosure, or in the event that a court, government official, or governmental
body (other than the Internal Revenue Service) requests or requires disclosure of anything
protected by this paragraph, the Party from whom disclosure is sought shall immediately
give written notice by facsimile or hand-delivery to the other Party, and shall
immediately provide copies of all notice papers, orders, requests or other documents in
order to allow each Party to take such protective steps as may be appropriate. Notice
shall be made under this paragraph to the persons identified in Section XVI.

Material protected by this section shall be deemed to fall within the protection afforded
compromises and offers to compromise by Rule 408 of the Federal Rules of Evidence
and similar provisions of state law or state rules of court.

XI.     Third-Party Beneficiaries

21st Century Centennial, the Trust, and Trustee are intended beneficiaries of this
Agreement. Except as set forth in the preceding sentence or otherwise set forth in this
Agreement, there are no other third-party beneficiaries of this Agreement.

XII.    Co-operation.

ASPM Parties and Catholic Entities will undertake all reasonable actions to co-operate
with 21st Century Centennial in connection with its reinsurers, including responding to
reasonable requests for information and meeting with representatives of reinsurers.
Furthermore, the Parties shall use their reasonable best efforts and cooperate as
necessary or appropriate to effectuate the objectives of this Agreement.

XIII. Non-Prejudice and Construction of Agreement.

This Agreement is intended to be and is a compromise between the Parties and shall not
be construed as an admission of coverage under the Subject Insurance Policies nor shall
this Agreement or any provision hereof be construed as a waiver, modification, or
retraction of the positions of the Parties with respect to the interpretation and application
of the Subject Insurance Policies.
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This Agreement is the product of informed negotiations and involves compromises of
the Parties’ previously stated legal positions. Accordingly, this Agreement does not
reflect upon the Parties’ views as to rights and obligations with respect to matters or
Persons outside the scope of this Agreement. This Agreement is without prejudice to
positions taken by 21st Century Centennial with regard to other insureds, and without
prejudice with regard to positions taken by any ASPM Party or Catholic Entity with
regard to other insurers. The Parties specifically disavow any intention to create rights
in third parties under or in relation to this Agreement.

This Agreement is the jointly drafted product of arms’-length negotiations between the
Parties with the benefit of advice from counsel, and the Parties agree that it shall be so
construed. As such, no Party will assert that any ambiguity in this agreement shall be
construed against another Party.

If any provision of the Plan conflicts with or is inconsistent with this Agreement in any
way whatsoever, then the provisions of this Agreement shall control and take
precedence. Neither the Plan nor the Trust Agreement shall be construed or interpreted
to modify or affect any rights or obligations of 21st Century Centennial under this
Agreement.

XIV. No Modification.

No change or modification of this Agreement shall be valid unless it is made in writing
and signed by the Parties. The Official Committee of Unsecured Creditors or the
Trustee, as applicable, must approve any modifications made to this Agreement.

XV.     Execution.

There will be two signed originals of this Agreement.

XVI. Governing Law.

This Agreement shall be governed by and shall be construed in accordance with the laws
of Minnesota.

XVII. Notices.

Unless another person is designated, in writing, for receipt of notices hereunder, notices
to the respective Parties shall be sent to the Persons listed on Attachment C.

XVIII.        Integration.

This Agreement, including the attachments, constitutes the entire Agreement among
21st Century Centennial, ASPM Parties, and Catholic Entities, with respect to the

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subject matter hereof, and supersedes all discussions, agreements and understandings,
both written and oral, among the Parties with respect thereto.

IN WITNESS WHEREOF, the Parties have executed this Agreement by their duly
authorized representatives.

                               [Signature Pages Follow]




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The Church of the Blessed
Sacrament of St. Paul,
including The Church of St.              Blessed Trinity Catholic
Thomas the Apostle, of St.               School of Richfield,
Paul, Minnesota                          Minnesota


By:                                      By:
(Name)                                   (Name) Most Rev Andrew Cozzens
Title:                                   Title: Auxiliary Bishop
Date:                      , 2018        Date: September 21      , 2018



Carondelet Catholic School,              The Cathedral of Saint Paul,
formerly known as Christ the             including the former parish of
King-St. Thomas the Apostle              The Church of St. Vincent of
School                                   St. Paul, Minnesota


By:                                      By:
   (Name)                                (Name)
Title:                                   Title:
Date:                      , 2018        Date:                          , 2018



                                         The Church of Christ the King
The Catholic Cemeteries                  of Minneapolis


By:                                      By:
   (Name)                                (Name)
Title:                                   Title:
Date:                      , 2018        Date:                          , 2018


The Church of All Saints of              Community of Saints Regional
Minneapolis                              Catholic School




By:                                      By:
(Name)                                   (Name)
Title:                                   Title:
Date:                      , 2018        Date:                          , 2018
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The Church of the Blessed
Sacrament of St. Paul,
including The Church of St.                Blessed Trinity Catholic
Thomas the Apostle, of St.                 School of Richfield,
Paul, Minnesota                            Minnesota

lYi_______________________                 Byj__________________________
    (Name)______________________               (Name)___________________
Title:                                     Title:
Date:                        , 2018        Date:                         , 2018



Carondelet Catholic School,                The Cathedral of Saint Paul,
formerly known as Christ the               including the former parish of
King-St. Thomas the Apostle                The Church of St. Vincent of
School                                     St. Paul, Minnesota

Byj________________________________        By:__________________________________
    (Name)________________________             (Name)__________________________
Title:                                     Title:
Date :                       , 2018        Date :                        , 201!



                                           The Church of Christ the King
The Catholic Cemeteries                    of Minneapolis

By :                    k.JLA-xJ^          Byj_________________________________
                      i<n-
_____ Jame)»:__________________ ____ __        (Name)
Title :                                    Title:
Date:                          , 2018 '    Date:                         , 2018



The Church of All Saints of                Community of Saints Regional
Minneapolis                                Catholic School




By:                                        By:
(Name;                                     (Name)
Title                                      Title:
Date :                        , 2018       Date:                         , 2018


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The Church of the Blessed
Sacrament of St. Paul,
including The Church of St.              Blessed Trinity Catholic
Thomas the Apostle, of St.               School of Richfield,
Paul, Minnesota                          Minnesota

By:                                      By:
    (Name)                                   (Name)
Title:                                   Title:
Date:                        2018        Date:                          2018




Carondelet Catholic School,              The Cathedral of Saint Paul,
formerly known as Christ the             including the former parish of
King-St. Thomas the Apostle              The Church of St. Vincent of
School                                   St. Paul, Minnesota

By:                                      By:
    (Name)                                   (Name)
Title:                                   Title.
Date:                        2018        Date:                          2018




                                         The Church of Christ the King
The Catholic Cemeteries                  of Minneapolis

BY:                                      BY'           ia~
    (Name)                                   (Nam        ~
Title:                                   Title:
Date:                         2018       Date:                          2018



The Church of All Saints of              Community of Saints Regional
Minneapolis                              Catholic School




By:                                      iy
(Name)                                   (Name)
Title:                                   Title
Date:                         2018       Date:                          2018



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The Church of the Holy Childhood, St. Paul, Minnesota
 The Church of the Holy Childhood, St. Paul, Minnesota
                                                         The Church of the Holy
                                                         Childhood, St. Paul,
                                                         Minnesota
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________________   Jesus of Medina, including the
parish school
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                                                       The Church o f t h e H o l y S p i r i t
Dominican   Fathers Holy              Rosary           of S t . Paul, Minnesota,
Church & S c h o o l                                   i n c l u d i n g the parish school

By:                                                    Byj_
 (Name)                                                 (Name;
Title:                                                 Title:
Date:                                   2018           Date:                                   2018



The Church o f t h e H o l y
T r i n i t y , i n c l u d i n g t h e former
p a r i s h e s o f The Church o f S t .
C o l u m b k i l l e o f B e l l e Creek,
M i n n e s o t a and The Church o f                   The Church o f t h e H o l y      Trinity
S t . Mary o f B e l v i d e r e ,                     of W a t e r v i l l e ,
Minnesota                                              Minnesota

By:                                                    By:
 (Name;                                                (Name;
Title:                                                 Title:
Date:                                   2018           Date:                               , 2018



The Church o f t h e H o l y T r i n i t y
o f South S t . Paul, i n c l u d i n g
t h e p a r i s h s c h o o l and The
Church o f S t . A u g u s t i n e o f                 The Church o f t h e I m m a c u l a t e
South S t , P a u l , M i n n e s o t a .              Conception, Lonsdale

                                                       By:
(Name) ^ H A ^         P     gCtfgCT                   (Name)
                                                       Title:
TDate:
  itle                                  2018           Date:                                2018
                 9-
                                                       The Church o f t h e I m m a c u l a t e
The Church o f t h e I m m a c u l a t e               C o n c e p t i o n o f Columbia
Conception o f Watertown,                              Heights, i n c l u d i n g the parish
Minnesota                                              school

Byj_                                                   By:
 (Name;                                                (Name;
Title:                                                 Title:
Date:                                   2018           Date:                                , 2018


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The Church of our Lady of Lourdes
of St. Anthony, Minnesota
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The Church of the Sacred Heart                  The Church of the Sacred Heart
in St.        Pauf                              of Rush City Minnesota
                                                By:
      (Name    )                                      (Name    )
Title:                                          Title:
late:                            2078           Date:                                       2At8


                                                The Society for the
The Church of the Sacred                        Propagation of the faith,
Heart, Robbinsdale i ncluding                   lncorporated (a,/k/a Center for
the parish school                               Mlss ion   )


                                                By:
      (Name    )                                      (Name    )
Title:                                          'l'1tIe:   t\Ptt ftl_
                                                           ?-
late:                            2At8                           Ao -,t--l -7
                                                                          /-    7.1 t,T ,
                                                                               z-.u   i     2078


                                                Parish of Saints Joachim and
                                                Anne of Shakopee, Minne sota,
                                                including parish s chool,
                                                formerly known as St. Mary of
                                                Shakopee/ Saint Mark's Church
The Church of St. Cyril of                      of Shakopee, Scott County and
Minneapolis, Minnesota (also                    The Church of Saint Mary of
known as the Church of Ss.                      the Purification of Marystown /
Cyri.L and Methodius     )                      Minn.

By:                                             By:
      (Name    )
                                                      (Name    )
Tit]e:                                          TitIE:
!ate:                            20r8           Date:                                       2Ar8


The Church of Ss. Peter and                     The church of St. Adafbert, of
Paul of Medina. Minnes ota                      st , Pau.l-, Minnesota
By:                                             By:
      (Name    )
                                                      (Name    )

Title:                                          Title:
                                                aate:                                       20r8

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The Church           Anne       -        The Church of St. Anne of
Saint                                    Hamel, Minnesota

By:                                      By:
    (Name)                                   (Name)
Title:                                   Title:
Date:                           2018     Date:                                2018
                            '                                             '

The Church of St Anne of
Lesueur, Minnesota, including
the parish school and the                The Church of Saint
former parish of Church of St.           Bartholomew of Wayzata,
Thomas of Derrynane                      including the parish school

By:                                       By:
    (Name)                                   (Name)
Title:                                   Title:
Date:                       , 2018       Date:                 --------
                                                                          , 2018
             ---------

                                          The Church of St. Bernard, of
The Church of Saint Bernard of            Benton, Minnesota, including
St Paul Minnesota                         the parish school

By:                                       By:
    (Name)                                    (Name)
Title:                                    Title:
Date:                       , 2018        Date:                ------' 2018
             ---------
The Church of St. Bonaventure,
of Bloomington,                           The Church of St. Boniface,
Minnesota                                 Minneapolis

By:                                       By:
                                         --"~----------------
    (Name)                               __    __
                                             (Name)
                                                _;__   .:.___
Title:                                    Title:
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Date:              ,            2018      Date:                -------' 2018
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